                Case 2:22-cv-00768-RDP Document 1 Filed 06/21/22 Page 1 of 13                                                                  FILED
                                                                                                                                      2022 Jun-22 PM 01:19
                                                                                                                                      U.S. DISTRICT COURT
                                                                                                                                          N.D. OF ALABAMA
Pro Se General Comnlajot for a Cjvil Case CRev 10/16)




                                           United States District Court
                                                for the
                                                                                                            Z~Zl
                                    NORTHERN DISTRICT OF ALABAMA

                                                                                                            1-•• ...; • .
                                                                                }
Plaintiff                                                                       }
(Write your fi11/ 11ame. No more than one plaintiffmay be named in a pro se     }
complaiut)                                                                      }
                                                                                }
                                                                                }
v.                                                                              }
                                                                                }           (to be filled in by the Clerk's Office)
                                                                                }
                                                                                }   JURYTRIAL      ~Yes                     0   No
                                                                                }
                                                                                }
                                                                                }
A IC\ h1
Defendant(s)
             {','fi                                            Alilxr1ryi}
                                                                                }
(Write thefull 11ame ofeach defendant who is being sued. If the names ofall
defendants ca1111ot fit ill the space above or 011 page 2, please write ··see   }
attached" i11 the space and attach a11 additio11al page with the full /isl of   }
names)                                                                          }




                                                 COMPLAINT FOR A CIVIL CASE

I.         The Parties to This Complaint

           A.         The Plaintiff
                      Name                              J> CDJ\chn                  Ado MS
                      Street Address                     ko'1              NC>fuic:.10   C.-\ r
                      City and County
                      State and Zip Code
                      Telephone Number

          B.          The Defendant(s)

                      Provide the information below for each defendant named in the complaint,
                      whether the defendant is an individual, a government agency, an organization or a
                      corporation. If you are suing an individual in his/her official capacity, include the
                      person's job or title. Attach additional pages if needed.


                                                                Page 1 of7
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Pro Se General Complaint for a Cjyil Case CRey 10116)




          Defendant No. I
                Name
                     Job or Title
                     Street Address                     ]4w 1-\ei,\ c.....yon    ?0111\-r
                     City and County                    (Vlont~o,1v1<-ry 11Afu   ) 6 117-
                     State and Zip Code




          Defendant No. 2
                Name
                    Job or Title
                    Street Address
                    City and County
                    State and Zip Code




          Defendant No. 3
                Name
                    Job or Title
                    Street Address
                    City and County
                    State and Zip Code




         Defendant No. 4
               Name
                    Job or Title
                    Street Address
                    City and County
                    State and Zip Code




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Pro Se General Complaint for a Cjyj! Case (Rev 10/16)




          Defendant No. 5
                Name
                     Job or Title
                     Street Address
                     City and County·
                     State and Zip Code

II.       Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power). Generally, only these
          types of cases can be heard in federal court: a dispute that involves a right in the United
          States Constitution or a federal law (as opposed to a state law or local ordinance); a
          dispute that involves the United States of America (or any of its agencies, officers or
          employees in their official capacities) as a party; and a dispute between citizens of
          different states with an amount in controversy that is more than $75,000.

          What is the basis for federal court jurisdiction? (check all that apply)

          efconstitutional or Federal Question D USA Defendant D Diversity of citizenship

          Fill out the paragraphs in this section that apply to this case.

         A.         If the Basis for Jurisdiction is USA defendant

                    The Defendant(s)
                    Name of Agency _________________________




         B.         If the Basis for Jurisdiction is a Constitutional or Federal Question

                    List the specific federal statutes, federal treaties, and/or provisions of the United
                    States Constitution that are at issue in this case.




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          C.        If the Basis for Jurisdiction is Diversity of Citizenship

                     I. The Plaintiff
                          The plaintiff, (name) ______________ , is a citizen of the
                          State of (name) _ _ _ _ _ _ _ _ _ _ _ _ __

                    2. The Defendant(s)
                          a. If the defendant is an individual
                               The defendant, (name) _ _ _ _ _ _ _ _ _ __               is a citizen of the
                               State of (name) _ _ _ _ _ _ _ _ _ _ _ __                 Or is a citizen of
                               (foreign nation) ______________

                          b. If the defendant is a corporation

                               The defendant, (name) _ _ _ _ _ _ _ _ _ _ _ , is incorporated under
                               the laws of the State of (name)                               , and has its
                               principal place of business in the State of (name) __________

                               Or      is      incorporated   under   the   laws   of    (foreign   nation)
                               _ _ _ _ _ _ _ _ _ _ _ _ _ _, and has its principal place of

                               business in ( n a m e ) - - - - - - - - - - - - -

                         (lf more than one defendant is named in the complaint, attach an additional
                         page providing the same information for each additional defendant.)

                    3.        The Amount in Controversy

                              The amount in controversy - the amount the plaintiff claims the defendant
                              owes or the amount that is at state - is more than $75,000, not counting
                              interest and costs of court, because: (explain)




III.     Statement of Claim


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Pm Se General Comnlajnt fora Cjvil Case (Rey 10116)




         Write a short and plain statement of the claim. Briefly state the facts showing that the
         plaintiff is entitled to the damages or other relief sought. State how each defendant was
         involved and what each defendant did that caused the plaintiff harm or violated the
         plaintiff's rights, including the dates and places of that involvement or conduct. If more
         than one claim is asserted, number each claim and write a short and plain statement of
         each claim in a separate paragraph. Attach additional pages if needed.

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                    1




IV.      Relief

         State briefly and precisely what damages or other relief the plaintiff asks for the court to
         order. Include any basis for claiming that the wrongs alleged are continuing at the.present
         time. Include the amounts of any actual damages claimed for the acts alleged and the
         basis for these amounts. Include any punitive (punishment) or exemplary (warning or
         deterrent) damages claimed, the amounts, and the reasons you claim you are entitled to
         actual or punitive money damages.

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Pm Se General Cornplajot for a Cjvil Case (Rey 10/16)




V.        Certification and Closing

          Under Rule 11 of the Federal Rules of Civil Procedure, by signing below, I certify to the
          best of my knowledge, information, and belief that this complaint; (1) is not being
          presented for an improper purpose, such as to harass, cause unnecessary delay, or
          needlessly increase the cost of litigation; (2) is supported by existing law or by a non-
          frivolous argument for extending, modifying or reversing existing law; (3) the factual
          contentions have evidentiary support or, if specifically so identified, will likely have
          evidentiary support after a reasonable opportunity for further investigation or discovery;
          and (4) complies with the requirements of Rule 11.


I agree to provide the Clerk's Office with any changes to my address where case-related papers
may be served. I understand that my failure to keep a current address on file with the Clerk's
Office may result ih dismissal of my case.

First Name        b CVf\c\C:AD                            Last Name   ~A~c1~CA~1~M~S~------
Mailing Address           d.ooS                 1A f6 CMM             G1' C
City and State       Bl I        {V\   \r'vjb~            A.t   e             Zip Code   ~ So--~-5
Telephone Number {do SJ 2-fifz- if,7Cj'Lf
E-mail Address ? CC\f\ctz»(\ '3JS S Y@ YfV\CI \\ . WM



Signature ofplaintiff~J>v?\~~
                         ............v,_M~+--~aJ\~~~~~-------------­

Date signed 6 - JJ - Jo ij..d---



**OPTIONAL**

You may request to · receive electronic notifications. You may not file documents or
communicate with the court electronically. All documents must be submitted in ~and you
must serve the defendants.

Type of personal computer and related software/equipment required:

     •   Personal computer running a standard platform such as Windows or Mac OSX
     •   Internet access (high speed is recommended)
     •   A Web browser (Microsoft Internet Explorer 7.0 or 6.0 or Mozilla Firefox 2 or 1.5)
     •   Adobe Acrobat Reader is needed for viewing e-filed documents
     •   PACER account - Information and registration at www.pacer.gov

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Pm Se General Complajnt for a   Civil Case CRey   10/16)




     •  You will receive one "free" look of the document. Documents must be viewed within 14
       days. You must only single-click on the hyperlink to view.
Note: You must promptly notice the Clerk's Office, in writing, if there is a change in your
designated e-mail address. Failure to update your email address does not excuse failures to
appear or timely respond.
E-mail type:
             D ,;fITML - Recommended for most e-mail clients
             0 Plain Text - Recommended for e-mail accounts unable to process HTML e-mail
Conditioned upon the sufficiency of your electronic equipment which the court will test and
verify receipt, you will be allowed to receive electronic notifications.

By submitting this request, the undersigned consents to electronic service and waives the right to
personal service and service by first class mail pursuant to Rule 5(b)(2) of the Federal Rules of
Civil Procedure, except with regard to service of a summons and complaint.

When a filing is entered on the case docket, a party who is registered for electronic noticing will
receive a Notice of Electronic Filing in his/her designated .e-mail account. The Notice will allow
one free look at the document, and any attached .pdf may be printed or saved.

IMPORTANT:

Messages sent to Yahoo or AOL accounts are frequently found in the spam folder until the court
is ~dded to your address book.


E-mail address designated for noticing:



Participant signature: ~                                   ~
Date:      b - CJ--) -           ').O d--)-




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 AFFIDAVIT OF RESPONSE FOR
      CEASE AND DESIST

                     AFFIDAVIT OF RESPONSE FOR CEASE AND DESIST

Brandon Adams
Krystal Bean
2009 Norman Cir
Birmingham Al 35235

May 10, 2022

Servi Solutions
PO Box 242967
Montgomery, AL 36124

Account#:2015052614
Account#:2015052615

                            AFFIDAVIT OF RESPONSE FOR CEASE AND DESIST

Fact, we, Brandon Adams and Krystal Bean, the affiants, are federally protected consumers, debtors,
and holders in due course pursuant UCC 3-306.

Fact, ServiSolutions, is a for-profit company who it regulated but The Truth in Lending Act (TILA).

Fact, the account in question was opened on October 13, 2017, with, First Bank Mortgage, using my
personal identification and credit card information as defined in 15 U.S.C. § 1602 (I).

Fact, an account pursuant 12 CFR 1002.2(a) means "an extension of credit. When employed in relation
to an account, the word use refers only to open-end credit".

Fact, since opening the account in question in October of 2017, We, have paid a monthly "bill" to
ServiSolution, threw online payments, using our personal debit card information.

Fact, We, the affiants, have received several statements including the subject matter of an attempt to
collect an alleged debt for Account numbers 2015052614 and 2015052615.

Fact, We, the affiants, have reason to believe and do so believe, as a federally protected consumer and
debtor, owe, no such alleged debt(s).

Fact, We, the affiants, have reason to believe and do so believe that all past, present, and future



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AFFIDAVIT OF RESPONSE FOR
     CEASE AND DESIST

required documentary evidence as requested to clarify and resolve the previously addressed billing
error.

Fact, We, the affiants are aware, ServiSolution cannot and shall not restrict nor limit nor cause any
disruption of any manner of the account in question pursuant 12 CFR 1026.13d(3), a creditor shall not
accelerate any part of the consumer's indebtedness or restrict or close a consumer's account solely
because the consumer has exercised in good faith rights provided by this section. A creditor may be
subject to the forfeiture penalty under 15 U.S.C. § 1666(e) for failure to comply with any of the
requirements of this section.

Fact, We, the affiants are aware, that, ServiSolution is not exempt from any claims or defenses as
described in 16 C.F.R. § 433.2(a) as the affiants, may invoke their rights as the debtor in this consumer
credit contract against ServiSolution for the unfair and deceptive practices.

Fact, We, the affiants, have reason to believe and do so believe, ServiSolution which is a private for
profit corporation, regardless of your/their location, has participated in racketeering activity as defined
in Title 18 U.S. Code§ 1961, by knowingly, intentionally, with forethought and malice have been sending
dividends but, in fact, making me believe that dividend was an invoice for services provided by the
utilities companies, which is embezzlement, theft by deception and extortion.

Fact, we, the affiants, have reason to believe and do so believe, ServiSolution is in violation of is a
violation of 18 U.S. Code§ 1341 by knowingly participating in the fraud through the US Mail.

Fact, without an affidavit response with a rebuttal, point for point, then we are conditionally accepting
your non-reasonable response, as frivolous, and We will file fault judgment in the favor of the interest of
WE the consumer, holder in due course, attorney, and administrator in fact.

Fact, We, the affiants are aware, an unrebutted affidavit stands as truth in commerce.

Fact, We, the affiants, are invoking my rights pursuant to 15 U.S.Code § 1692c(c), we demand you to
cease any collection activity of this alleged debt until you can provide us with the requested information
in this affidavit herein.

You have 15 days from the date of delivery to respond to this notice. Should there be dishonor in the
aforementioned requested documentation by way of unrebutted affidavit, failure to disclose requested
documents or failure of response, and the particular requests to rectify any fault by ServiSolution herein,
will serve as acquiescence and your agreement to a default judgment against your company for the
dishonor in the negotiable instrument, bank fraud, creation of the false and deceptive form, mishandling
of goods, compromising our relationship with other financial institutions and including stress caused to



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AFFIDAVIT OF RESPONSE FOR
     CEASE AND DESIST

our in the attempt of exercising my rights in good faith. However, We do in good faith expect you to
handle these matters with ordinary care to address all subject matter. Respectfully.

Notice, WE, the affiants and consumers, in writing with adequate information on all forms of remittance
"accepted" and the remittance provider address and the name exactly as it appears on the l.R.S
statements so we can resolve this issue post haste. If you are not familiar with remittance transfers,
please see Regulation B 12 C.F.R Subpart B "Requirements Remittance Transfers" for your reference.
Provide examples of accepted remittance slip transfers, so we may tender a bill of credit approval.

If this notice contains a remittance slip that is not accepted, please return the original coupon with
reason as to why it was denied and to whom we may contact to properly endorse the remittance slip to
your organization.

We do in good faith expect you to handle these matters with ordinary care to address all subject matter.
Respectfully.

We declare under penalty of perjury WITHOUT the United States (28 U.S.C § 1746) that the Above is the
Truth, The Whole Truth and Nothing but the Truth to the best of our knowledge and Overstanding.




ucc 1-308 All Right Reserved



BRANDON COURTEZ ADAMS, executor, consumer, debtor and legal                   Date
representative of Brandon Courtez Adams




KRY AL ANN BEAN, executor, consumer, debtor and legal
                                                                              5- \)_-di>cJ-l-
                                                                               Date
representative of Krystal Ann Bean




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AFFIDAVIT OF RESPONSE FOR
     CEASE AND DESIST


                                        JU RAT

Whereas, we of age, of majority, give this herein notice to all, we make a solemn oath to the one and
only most high of creation only, whoever that may be, and we depose the following facts, so be it,
nunc pro tune.

We swear to all information provided herein, we do so under the penalty of perjury that the information
we so affirm to be true, correct, accurate to the best of my ability and knowledge, so be it.

On the date of M(i.,,'it.
                        '\-;L, ~ ~ agent, Brandon Adams and Krystal Bean came before me
today present as a fie and blood living being (Non entity/non debtor) under oath to the most high of
creation only and provided the facts listed herein


    ~ o/Jw
Signature

Signature~~
Sworn to or Affirmed by and subscribed before me on the _l_.2_day of,   ffl..y year 202 ~
              .( , vtd                 otary Name


                                                                           CHESLEIGH HEARD
                                                                            NOTARY PUBLIC
                                                                          STATE OF ALABAMA
                                                               •         COMM. EXP. 09-13-2025




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AFFIDAVIT OF RESPONSE FOR
     CEASE AND DESIST


                                            JU RAT

Whereas, we of age, of majority, give this herein notice to all, we make a solemn oath to the one and
only most high of creation only, whoever that may be, and we depose the following facts, so be it,
nunc pro tune.

We swear to all information provided herein, we do so under the penalty of perjury that the information
we so affirm to be true, correct, accurate to the best of my ability and knowledge, so be it.

On the date of   MQ..,'ih '\:;>...,   ~ ~ agent, Brandon Adams and Krystal Bean         came before me
today present as a   fieand blood living being (Non entity/non debtor) under oath to the most high of
creation only and provided the facts listed herein



Signature~                       ofJw
SignatureM@Mµ/
Sworn to or Affirmed by and subscribed before me on the __L2_day of,       ftkJ.y year 20_2~
            ..( . d                        otary Name

                                                                              CHESLEIGH HEARD     •
                                                                               NOTARY PUBLIC
                                                                             STATE OF ALABAMA
                                                                   •        COMM. EXP. 09-13-2025




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Ill Statement of Claim

Alabama House Finance Authority securitize my promissory note and still requesting payment
from the plaintiff which they never had any authority to securitize the promissory note.



IV Relief

Any and all securities in relation to the promissory notes and all the securities in relation to
account numbers 2015052614 and 2015052615, remittance coupons
2015052614000013923200000033360000142568 and
2015052615000000540300000002700000005673. Civil Racketeer Influence and Corrupt Organization
act due to the racketeering activity in regards to account numbers 2015052614 And the amount
of $523,275.99, 2015052615 In the amount of $15,902.28 and for Payment coupons
2015052614000013923200000033360000142568 in the amount of $476,164.68 and
2015052615000000540300000002700000005673 in the amount of $9,549.09
$1,000,000.00 for punitive damages so they'll never knowingly and willfully fraud any other
consumer again.
72,556.78 in actual damages made by the plaintiff to the defendant.
